      Case 3:20-cv-02481-H-BGS Document 3 Filed 12/21/20 PageID.40 Page 1 of 2




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 8                    UNITED STATES DISTRICT COURT
 9                  SOUTHERN DISTRICT OF CALIFORNIA
10 THE ESTATE OF NICHOLAS               CASE NO. 20-cv-02481-BEN-MDD
11 BILS by and through its successor-
   in-interest KATHLEEN BILS, and       NOTICE OF RELATED CASE
12
   KATHLEEN BILS as an individual       (Local Rule 40.1 (f) and (g))
13
14              Plaintiffs,
15 v.
16
   AARON RUSSELL WILLIAM
17
   GORE, in his individual capacity,
18 COUNTY OF SAN DIEGO, PARK
19 RANGER DOES 1-2 and SHERIFF
   DOES 3-25
20
21            Defendants.
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      Case 3:20-cv-02481-H-BGS Document 3 Filed 12/21/20 PageID.41 Page 2 of 2




 1         Plaintiffs wish to give notice pursuant to Local Rule 40.1 (f) and (g), that
 2   this case is related to the Case of Henry Bils v. County of San Diego et al., Case
 3   No. 20-cv-2069-H (BGS). The subject matter of both cases deals with the death of
 4   Nicholas Bils at the hands of Aaron Russell, a deputy sheriff, who is currently
 5   charged in San Diego County with second degree murder for the conduct alleged in
 6   this case. The plaintiff in this case is Kathleen Bils, the mother of decedent. The
 7   plaintiff in Case No. 20-cv-2069-H (BGS) is Henry Bils, the father of decedent,
 8   from whom Kathleen Bils has been divorced for many years. The defendants in
 9   both cases include Aaron Russell and the County of San Diego.
10
11                                          Respectfully Submitted,
12                                          IREDALE AND YOO, APC
13   Dated: December 21, 2020               s/ Eugene Iredale
14                                          EUGENE IREDALE
                                            Attorney for Plaintiffs
15                                          THE ESTATE OF NICHOLAS BILS by
16                                          and through its successor-in-interest,
                                            KATHLEEN BILS, and KATHLEEN BILS
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